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OF TEXAS



NO. AP-75,886




EX PARTE DANA LYNN ATTAWAY, AKA DANA LYNN RAGSDALE,
Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 0619071A IN THE 8TH JUDICIAL DISTRICT COURT
FROM HOPKINS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was charged in a single indictment
with one count of aggravated sexual assault of a child, and five counts of indecency with a child. 
She pleaded guilty to six counts of aggravated sexual assault of a child, and was sentenced to twenty
years for each count years’ imprisonment.  She did not appeal her conviction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, inter alia, that her counsel was ineffective and pressured her into
pleading guilty.  We remanded this application to the trial court for findings of fact and conclusions
of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Trial counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
determined that Applicant received effective assistance from counsel, and that she entered her plea
knowingly and voluntarily.  However, the trial court also finds that Applicant pleaded guilty in five
counts of the indictment to offenses more serious than those with which she was charged.  Applicant
is entitled to relief.  Ex parte Huerta, 692 S.W.2d 681 (Tex. Crim. App. 1985).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  Because Applicant’s conviction on all six counts is the result of a plea
bargain, the entire conviction must be set aside.  Therefore, the judgment in Cause No. 0619071A
in the 8th Judicial District Court of Hopkins County is set aside, and Applicant is remanded to the
Sheriff of Hopkins County to answer the charges against her.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 9, 2008
Do Not Publish


